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                     EXHIBIT B-2
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                                                                   DATE FILED
 DISTRICT COURT, CITY AND COUNTY OF DENVER, July 30, 2024 2:33 PM
 STATE OF COLORADO                          CASE NUMBER: 2024CV32321
 1437 Bannock Street
 Denver, Colorado 80202


 Plaintiff: MOSES, VICTOR

 v.                                                                      Case No. 24CV32321
                                                                            Courtroom 280
 Defendants: C AND C OF DENVER COLO ET AL




                               DELAY REDUCTION ORDER


All civil courtrooms are on a delay reduction docket.

IF AN ATTORNEY OR PRO SE PARTY FAILS TO COMPLY WITH THIS ORDER, THE
COURT MAY DISMISS THE CASE WITHOUT PREJUDICE. THIS ORDER IS THE
INITIAL NOTICE REQUIRED BY C.R.C.P 121 § 1-10, AND C.R.C.P. 41(B)(2).

A.     In all civil actions, the following deadlines must be met:

       1.    Service of Process: Proof of service of process under C.R.C.P. 4 for all defendants must
             be filed within 63 days after the date of filing of the complaint. After 63 days, the action
             may be dismissed by the Court against any defendant for whom proof of service has not
             been filed.

       2.    Default: Motions for default must be filed within 14 days after default has occurred and
             must comply with C.R.C.P. 121(c) § 1-14. Reasonable inquiry regarding a person’s
             military status requires confirmation through the Department of Defense’s
             Servicemembers Civil Relief Act website (https://scra.dmdc.osd.mil) or equivalent
             confirmation.

       3.    Trial Setting: The Responsible Attorney as defined in C.R.C.P. 16(b)(2) must file and
             serve a Notice to Set the case for trial and must complete the setting of the trial no later
             than 14 days from the date the case is at issue. Counsel may call the courtroom to set trials
             only on Tuesdays, Wednesdays, and Thursdays from 10:00 a.m. until noon.
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       4.    Cases filed under C.R.C.P. 16:

               a) Case Management Conference: The notice to set trial must also include a notice to
                  set a Case Management Conference to be held no later than 49 days after the case is
                  at issue. Counsel may call the courtroom to set case management conferences only
                  on Tuesdays, Wednesdays, and Thursdays from 10:00 a.m. until noon.

               b) Proposed Case Management Order: At least 7 days before the Case Management
                  Conference, the parties must file a proposed Case Management Order.

               c) Waiver of Case Management Conference: If all parties are represented by
                  counsel, a joint request to waive the case management conference may be included
                  in the proposed Case Management Order. Unless such a request has been granted,
                  counsel must appear for the case management conference.

       5.    Cases filed under C.R.C.P. 16.1:

             Certificate of Compliance: Not later than 49 days after the case is at issue, the
             Plaintiff (or the Responsible Attorney) must file a Certificate of Compliance as
             required under C.R.C.P. 16.1(h). No Case Management Order or Case Management
             Conference is required.

B.     Additionally, in all civil actions the following provisions apply:

       1. Service of this Order. The Plaintiff or Responsible Attorney must send a copy of this Order
       to all other parties who enter their appearance.

       2. Related Cases. An attorney entering an appearance in this case who is aware of a related
       case is ordered to complete and file in this case an Information Regarding Related Case(s) form,
       available in Room 256 of the City and County Building or on line at:

https://www.courts.state.co.us/userfiles/file/Information_Regarding_Related_Cases_Form(1).doc

C.     Interpreters. If any party or witness will require an interpreter, please notify the
       Courtroom Clerk as soon as possible and in no event later than 91 days before the trial date.

Done: July 30, 2024

                                                 BY THE COURT:


                                                 David H. Goldberg

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                                  District Court Judge
cc: All Parties




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